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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 ROMAIN MOISE,

       Plaintiff,

 v.

 MEDICREDIT, INC.

       Defendant.

 _________________________________________/

                                   COMPLAINT
                                  JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”), and violation of the Telephone Consumer

 Protection Act, 47 U.S.C §227, et seq. (“TCPA”).

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331. Mims v. Arrow

 Fin. Servs. LLC, 132 S. Ct. 740 (2012); Mims v. Arrow Fin. Servs. LLC, 2012

 U.S. LEXIS 906 (2012). Venue in this District is proper because Plaintiff resides

 here and Defendant placed telephone calls into this District.

                                      PARTIES

       3.     Plaintiff, ROMAIN MOISE, is a natural person, and citizen of the

 State of Florida, residing in Broward County, Florida.
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        4.    Defendant, MEDICREDIT, INC is a corporation and citizen of the

 state of Missouri with its principal place of business at Suite C, 3620 Interstate 70

 Drive SE, Columbia, Missouri 65201.

        5.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.    Defendant regularly collects or attempts to collect debts for other

 parties.

        7.    Defendant is a “debt collector” as defined in the FDCPA.

        8.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.    Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.

        10.   On or about January 29, 2013, Defendant left a message on Plaintiff’s

 voice mail on his cellular telephone using an automatic telephone dialing system or

 a pre-recorded or artificial voice and failed to disclose its name in the message.

        11.   Defendant left similar or identical messages on other occasions using

 an automated telephone dialing system or pre-recorded or artificial voice on

 Plaintiff’s cellular telephone. (Collectively, “the messages”).
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       12.    The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

       13.    Defendant failed to disclose its name in the messages left on Plaintiff's

 cellular telephone.

       14.    Defendant used an automatic telephone dialing system or a pre-

 recorded or artificial voice to place telephone calls to Plaintiff’s cellular telephone.

       15.    None of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C. §227 (b)(1)(A).

       16.    Defendant willfully or knowingly violated the TCPA.

                         COUNT I
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

       17.    Plaintiff incorporates Paragraphs 1 through 16.

       18.    Defendant placed telephone calls to Plaintiff without making

 meaningful disclosure of its identity when it failed to disclose its name in the

 telephone messages in violation of 15 U.S.C §1692d(6). See Valencia v The

 Affiliated Group, Inc., Case No. 07-61381-Civ-Marra/Johnson, 2008 U. S. Dist.

 LEXIS 73008, (S.D.Fla., September 23, 2008); Wright v. Credit Bureau of

 Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga. 1982); and Hosseinzadeh v. M.R.S.

 Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).
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        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                         COUNT II
   VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

        19.    Plaintiff incorporates Paragraphs 1 through 16.

        20.    Defendant, or others acting on its behalf, placed non-emergency

 telephone calls to Plaintiff’s cellular telephone using an automatic telephone

 dialing system or pre-recorded or artificial voice violation of 47 U.S.C § 227

 (b)(1)(A)(iii).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    a declaration that Defendant calls violate the TCPA;

               c.    a permanent injunction prohibiting Defendants from placing

               non-emergency calls to Plaintiff’s cellular telephone using an

               automatic telephone dialing system or pre-recorded or artificial voice;

               and

               d.    Such other or further relief as the Court deems proper.
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                                      JURY DEMAND

        Plaintiff demands trial by jury.

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